                     Case 6:20-bk-04480-KSJ        Doc 22     Filed 02/04/21      Page 1 of 9




                                              ORDERED.
              Dated: February 04, 2021




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION
                                               www.flmb.uscourts.gov



IN RE:                                                                 Case No:      6:20-bk-04480-KSJ

EMANUEL C GALLOWAY


                                              Debtor /                 Chapter 13



                                        ORDER CONFIRMING PLAN


         THIS CASE came on for a hearing on February 03, 2021 following the transmittal of Debtor's Chapter

13 plan (the “Plan,” Docket No. 5 reference to which shall include any subsequent amendment made by prior

order, in open court during the hearing, or in this Order) to all parties in interest. Any amendment to the Plan

made by Debtor or the Chapter 13 Trustee at confirmation is incorporated in this Order. The Court finds that the

Plan complies with all applicable provisions of the Bankruptcy Code.

         Accordingly, it is

         ORDERED:

         1.     The Plan is confirmed as set forth in this Order. If there is a discrepancy between the Plan and
                    Case 6:20-bk-04480-KSJ           Doc 22     Filed 02/04/21     Page 2 of 9




this Order, this Order controls and supersedes the Plan.

         2.    Payments by Debtor as set forth in the attached Exhibit “A,” incorporated by reference, shall be

made each month by Trustee-approved electronic transfer, money order or cashier’s check for 60 consecutive

months commencing on September 10, 2020 to the Chapter 13 Standing Trustee, Laurie K. Weatherford, P.O.

Box 1103, Memphis, TN 38101-1103. If Trustee has insufficient monies to make distribution under this Order,

or any other Court order, the payments may be adjusted during the life of the Plan without further order of this

Court.

         3.    Debtor is prohibited from incurring any non-ordinary course post-confirmation debt during the

term of this Plan without prior approval of the Court or the Trustee.

       4.   All claims, including Debtor’s attorney’s fees, are allowed or disallowed as set forth in
Exhibit “A”

attached hereto and by reference made a part hereof. Any party in interest may, within 21 days of the date of
this

Order, request the Court to examine the fees to be paid to Debtor’s attorney.

         5.    The Trustee will collect from each payment received his/her percentage fee, which percentage fee

is fixed periodically by the United States Trustee. If the Trustee’s actual fee is less than provided for in the Plan,

any unused portion of the fee may fund the Plan or to increase the distribution to unsecured creditors.

         6.    Distributions by the Trustee may commence and continue monthly to pay allowed claims on

attached Exhibit “A” or as subsequently provided for in an amended Exhibit “A” or Court order. The Trustee

may disburse partial payments based on the availability of funds. The Trustee may distribute partial Plan

payments to creditors in their order of priority based upon the availability of funds.

         7.    The procedure for treatment of mortgage payment changes and escrow account adjustments

during the life of the Plan shall be governed by Rule 3002.1(b).



                                                     Page 2 of 9
                     Case 6:20-bk-04480-KSJ         Doc 22     Filed 02/04/21      Page 3 of 9




       8.      If a Notice of Payment Change is filed and served, the Trustee may take the following action:

               (a)     If the new payment is less than the current payment, the Trustee may reduce the payment

to the creditor under the notice and apply the difference to increase the distribution to unsecured creditors; or

               (b)     If the new payment is greater than the current payment, the Trustee may compute the

additional sum Debtor must pay and notify Debtor and Debtor’s attorney of the new monthly payment amount.

The payment to the creditor will be adjusted accordingly.

       The foregoing provisions are a modification to the Plan, which is deemed requested by the Trustee as

provided in Section 1329. Notice and hearing are waived because no creditor will be adversely affected by such

change.

       9.      Provisions for both prepetition and postpetition arrearages, if any, on allowed secured claims are

included in the Plan. After the completion of all payments under the Plan and the entry of a discharge of Debtor,

the delinquencies on mortgages and security interests related to such claims will be deemed cured and their

contractual maturities reinstated. Any postpetition costs or expenses incurred by or on behalf of any secured

creditor will be discharged upon completing the Plan, unless specifically provided for in this Order, or allowed

pursuant a notice provided under Rule 3002.1(c) before completing Plan payments.

       10.     The automatic stay was terminated in rem as to Debtor and in rem and in personam as to any

codebtor as to any secured creditor or lessor for which the Plan provided (a) for the surrender of collateral or

leased property to the secured creditor or lessor, or (b) for Debtor to make payments directly to the secured

creditor or lessor, (c) that Debtor does not intend to make payments while preserving state law contract rights

and defenses, or (d) for which no provision was made in the Plan. The automatic stay is terminated in rem as to

Debtor and in rem and in personam as to any codebtor as to any secured creditor or lessor not provided for in

this Order.



                                                    Page 3 of 9
                    Case 6:20-bk-04480-KSJ          Doc 22     Filed 02/04/21      Page 4 of 9




         11.   The holders of allowed secured claims provided for in the Plan shall retain the lien securing such

claim until the earlier of the payment of the underlying debt determined under non-bankruptcy law or discharge

under Section 1328. If the case is dismissed or converted without completion of the Plan, such lien shall also be

retained by such holder to the extent recognized by applicable non-bankruptcy law.

         12.   If the bar date to file proofs of claim has not yet expired, Debtor shall have 28 days following the

expiration of the claims bar date to object to any filed claim which has not already been provided for in this

Order.

         13.   Any claim or amended claim filed after the claims bar date, other than a claim filed by Debtor or

the Trustee under Rule 3004, shall be disallowed and receive no distribution unless an order is entered allowing

such untimely filed claim or is provided for in Exhibit “A” of this Order.

         14.   If any timely filed claim is not already provided for in this Order, Debtor (through counsel, if

any) shall timely file an appropriate motion to modify the confirmed Plan and any objection to claims or

motions to value claims. The Trustee shall review the claims register after all bar dates have passed and may file

a motion to dismiss if Debtor fails to timely take appropriate action to address all filed claims.

         15.   The Trustee shall hold all funds payable to general unsecured creditors for at least 30 days after

the bar date for filing claims has passed, and the Trustee may continue to hold all such funds until all objections

to claims have been resolved.

         16.   If Debtor files a notice of conversion of this case to a Chapter 7 or the Court orders the

conversion of this case to a Chapter 11 or the dismissal of this case, any undistributed funds in the Trustee’s

possession on the date of conversion or dismissal shall be payable to Debtor and, if Debtor is represented by

counsel, mailed to Debtor in care of Debtor’s attorney.

         17.   Unless otherwise provided for in this Order or any other order of this Court, Debtor is



                                                    Page 4 of 9
                     Case 6:20-bk-04480-KSJ           Doc 22     Filed 02/04/21      Page 5 of 9




responsible for paying all postpetition ongoing homeowners’ assessments, homeowners’ dues, and property

taxes that are related to real property being retained by Debtor under the Plan, and the automatic stay shall not

apply to these postpetition claims.

        18.     Debtor is responsible for paying any domestic support obligation that first becomes payable after

the petition date.

        19.     Any objections to confirmation of the Plan are deemed withdrawn and/or overruled by entry of

this Order.

        20.     Upon completion of all payments under the Plan, Debtor shall promptly file a declaration under

penalty of perjury or affidavit that (a) lists all domestic support obligations and whether such obligations are

current or file a certificate stating that Debtor is not required to pay a domestic support obligation, and (b) states

that § 522(q)(l) is not applicable and that no proceeding is pending in which Debtor could be found guilty of an

offense listed in § 522(q)(l) or liable for a debt of the kind listed in § 522(q)(1)(B).

        21.     Debtor shall complete the personal financial management course required by § 1328(g)(1) and file

a completion certificate within 90 days of the entry of this Order.

        22.     The Court will withhold entry of a discharge until Debtor complies with Paragraphs 20 and 21.

        23.     This case is not subject to § 521(i)(l).

        24.     During the pendency of the Chapter 13 case, Debtor shall timely file all tax returns and make all

tax payments and deposits when due. (However, if Debtor is not required to file tax returns, Debtor shall

provide Trustee with a statement to that effect.) For each tax return that becomes due after the case is filed,

Debtor shall, within 14 days of filing the return, provide the Trustee with a complete copy of the tax return,

including business returns if Debtor owns a business, together with all related W-2s and Form 1099s.

        25.     Unless otherwise consented to by the Trustee or ordered by the Court, Debtor shall turn over to


                                                      Page 5 of 9
                    Case 6:20-bk-04480-KSJ          Doc 22     Filed 02/04/21     Page 6 of 9




the Trustee all tax refunds in addition to regular Plan payments for distribution to allowed general unsecured

creditors. Debtor shall not instruct the Internal Revenue Service or other taxing agency to apply a refund to the

following year’s tax liability. Debtor shall spend no tax refunds without first having obtained the Trustee's

consent or court approval.

       26.     Any discharge entered in this case shall not discharge Debtor’s liability on a federally guaranteed

student loan unless the Court specifically finds that repayment of the debt would cause an undue hardship to

Debtor or Debtor’s dependents under § 523(a)(8).

       27.     To the extent this Order contains any modified term or condition not timely noticed to the parties,

any party may seek reconsideration of this Order within 14 days of its entry by separate motion.

       28.     Debtor is under a continuing duty to disclose any changes in financial circumstances and new

assets or potential rights to assets that Debtor acquires post-petition by promptly filing amended schedules with

the Court. Any failure to disclose changes in financial circumstances or assets by filing amended schedules may

result in dismissal of the case or denial of Debtor’s discharge.

       29.     If a claim is withdrawn by a creditor or the creditor files a satisfaction of the debt or claim, the

Trustee, at the Trustee’s discretion, may elect to seek recovery of funds already disbursed or to take no action

regarding funds already disbursed to that creditor. The Trustee also may discontinue any further disbursements if

a claim is withdrawn by a creditor. Any disbursements made under this Order on account of a claim that is

subsequently withdrawn or for which the Trustee receives a satisfaction of claim are deemed authorized

disbursements, and the Trustee shall have no liability for these disbursements.


Trustee Laurie K. Weatherford is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and to file a proof of service within 3 days of entry of the order.




                                                    Page 6 of 9
                  Case 6:20-bk-04480-KSJ       Doc 22    Filed 02/04/21    Page 7 of 9




                                               APPENDIX

                                               State Taxes

                                 Sales Taxes and Unemployment Taxes.

                                     Mail reports and payments to:

                                  State of Florida - Department of Revenue
                        Office of General Counsel/Bankruptcy Section P.O. Box 6668
                                         Tallahassee, FL 32314-6668

                                              Federal Taxes

 Federal tax deposits of social security taxes (employer and employee shares) and withholding taxes are to
be made within three banking days after each payroll is made. Deposits are to be made in a Federal
Reserve Bank or a commercial bank authorized to accept federal tax deposits. Deposits are to be made by
cashier’s or certified check and be accompanied by Form 8109, Federal Tax Deposit Withheld Income
and FICA Taxes. If Form 8109 is not available, deposits are to be mailed within the time prescribed or
deposits to the address indicated below. If you pay amounts with Form 941 that should have been
deposited, you may be subject to penalty. See Deposit Penalties in Section 11 of Pub. 15 (Circular E).

 Mail original returns prepetition (prior to confirmation) to the appropriate district office listed below
according to the county listed in the bankruptcy petition as Debtor’s residence or place of operating
business.

       If any taxes are due on the prepetition returns, they should be included in the Plan (paid through
the Trustee) and the IRS should be noticed at the Philadelphia address regarding the bankruptcy

Jacksonville District                            Ft. Lauderdale District
Internal Revenue Service                         Internal Revenue Service
Attn: Insolvency, Stop 5720                      Attn: Insolvency, Stop 5730
400 W. Bay Street, Suite 35045                   P.O. Box 17167
Jacksonville, FL 32202                           Ft. Lauderdale, FL 33318

Mailing of original returns postpetition (after confirmation) and/or payments for those returns should be
sent to the regularly scheduled address as listed by the IRS on your filing information .




                                               Page 7 of 9
                        Case 6:20-bk-04480-KSJ              Doc 22    Filed 02/04/21        Page 8 of 9




                                                            Exhibit "A"


Claim                                        Claim                          Claim             Claim                     Monthly
Nbr.                                         Type                          Amount           Allowed       Notes         Payments
AT       Wayne B Spivak                      Attorney Fee                  $2,887.00       $2,887.00
                                                                                                                   01-05/    $395.75
                                                                                                                   06-06/    $400.43
                                                                                                                   07-07/    $387.59
                                                                                                                   08-08/    $120.23
001      Ws Badcock Corporation              Secured                        $300.00             $341.75   (   1)
                                                                                                                   01-06/     $0.00
                                                                                                                   07-59/     $6.34
                                                                                                                   60-60/     $5.73
002      Truist Bank - Dda Recovery          General Unsecured              $452.58             $452.58             01-60/    Pro Rata
003      Quantum3 Group, Llc                 General Unsecured            $11,930.55      $11,930.55               01-60/     Pro Rata
004      Usa, Us Dept Of Agriculture, Rural Housing
                                             OngoingService
                                                      Mortgage            $73,920.15              $0.00   (   2)
                                                                                                                   01-60/    $598.57
104      Usa, Us Dept Of Agriculture, Rural Housing
                                             Mortgage
                                                    Service
                                                       Arrears            $40,821.15      $40,821.15
                                                                                                                   01-06/      $0.00
                                                                                                                   07-07/    $387.60
                                                                                                                   08-08/    $654.96
                                                                                                                   09-59/    $775.19
                                                                                                                   60-60/    $243.90
350      Wayne B Spivak                      Monitoring Fees               $2,700.00       $2,700.00      (   3)
                                                                                                                 01-06/        $0.00
                                                                                                                 07-60/       $50.00
501      W.S. Badcock Corporation            General Unsecured             $1,900.46       $1,900.46      (   4) 01-60/        Pro Rata


Note (     1)     CLAIM FILED IN THE TOTAL AMOUNT OF $2,200.46. PURSUANT TO ORDER GRANTING
                  DEBTOR'S VERIFIED MOTION TO VALUE CLAIM FILED ON 11/24/2020 , COLLATERAL VALUED
                  IN THE SECURED AMOUNT OF $300.00 PLUS 5.25% INTEREST. THE BALANCE IN THE
                  AMOUNT OF $1,900.46 IS ALLOWED AS A GENERAL UNSECURED CLAIM.
Note (     2)     PRINCIPAL DUE AMOUNT PURSUANT TO FILING OF PROOF OF CLAIM IS $73,920.15.
Note (     3)     THIS CLAIM REPRESENTS ATTORNEY MONITORING FEES.
Note (     4)     SEE NOTE ON CLAIM ONE.


                                                   Debtor Payments to the Trustee
                                            Months                                   Amount
                                            1-5                                     $1,104.80
                                            6-6                                     $1,110.00
                                            7-59                                    $1,589.00
                                            60-60                                   $1,548.28


                                                            Page 8 of 9
                        Case 6:20-bk-04480-KSJ                Doc 22       Filed 02/04/21         Page 9 of 9




NOTICE TO ALL CREDITORS LISTED ABOVE: In an effort to disburse all funds held by the trustee on a monthly basis, it is
possible that you may on occasion receive partial payment. However, the Claim Allowed by this Court will be paid in full by the end
of the debtor's Plan. All undesignated funds will be distributed to unsecured creditors with timely filed proofs of claim .

THE TRUSTEE SHALL PROVIDE TO THE COURT an amended confirmation order after all unsecured claim issues are resolved , if
necessary. There will be no distribution to unsecured creditors listed on Exhibit A , attached hereto, for 90 days following the date of
this Order.

IF MORTGAGE MEDIATION HAS BEEN ORDERED, the debtor and the creditor are directed to comply with the terms of the
mortgage mediation modification order . The Trustee is authorized to disburse to the mediator the mediation fee upon the mediator
filing a notice of completed mediation..
The Debtor, Debtor’s Counsel, each Creditor, and creditor’s counsel are each responsible for their own independent review of this
confirmation order and the distribution of the Plan payments set forth herein . Further, the numbers in the exhibit to the Confirmation
Order reflect the disbursement codes that will be used for all funds received by the Trustee . The Debtor, Debtor’s Counsel, each
Creditor, and creditor’s counsel are each responsible for their own independent review of said disbursement codes as well . DUE TO
THE RES JUDICATA EFFECT OF THE CONFIRMATION ORDER AND THE SPECIFIC PROVISIONS THEREIN , IT IS
IMPERATIVE THAT COUNSEL FOR ALL INTERESTED PARTIES REVIEW THIS ORDER THOROUGHLY AND TIMELY
TAKE ALL STEPS NECESSARY TO CORRECT ANY PERCEIVED INACCURACIES .




                                                              Page 9 of 9
